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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA
v.

JOSEPH LINO PADILLA,
also known as “Jose Padilla,”

Defendant.

CRIMINAL NO. 21-CR-214 (JDB)
MAGISTRATE NO. 21-MJ-252

VIOLATIONS:

18 U.S.C. §111(a)(1)-

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

SECOND SUPERSEDING INDICTMENT

The Grand Jury charges that:
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COUNT ONE

On or about January 6, 2021, at or around 1:37 p.m. to 1:39 p.m., within the District of
Columbia, JOSEPH LINO PADILLA, also known as “Jose Padilla,” did forcibly assault,
resist, oppose, impede, intimidate, and interfere with an officer and employee of the United
States, and of any branch of the United States Government (including any member of the
uniformed services), and any person assisting such an officer and employee, while such person
was engaged in and on account of the performance of official duties, and where the acts in
violation of this section involve physical contact with the victim and the intent to commit another

fel
a (Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United

States Code, Section 111(a)(1))
COUNT TWO

On or about January 6, 2021, at or around 1:39 p.m. to 1:41 p.m., within the District of
Columbia, JOSEPH LINO PADILLA, also known as “Jose Padilla,” using a deadly and
dangerous weapon, that is, a metal sign, did forcibly assault, resist, oppose, impede, intimidate,
and interfere with, an officer and employee of the United States, and of any branch of the United
States Government (including any member of the uniformed services), and any person assisting
such an officer and employee, while such officer or employee was engaged in or on account of the
performance of official duties, and where the acts in violation of this section involve physical

contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT THREE
On or about January 6, 2021, at or around 1:37 p.m. to 1:41 p.m., within the District of

Columbia, JOSEPH LINO PADILLA, also known as “Jose Padilla,” committed and attempted
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to commit an act to obstruct, impede, and interfere with a law enforcement officer, lawfully
engaged in the lawful performance of official duties, incident to and during the commission of a
civil disorder which in any way and degree obstructed, delayed, and adversely affected commerce
and the movement of any article and commodity in commerce and the conduct and performance
of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT FOUR

On or about January 6, 2021, at or around 4:47 p.m. to 4:49 p.m., within-the District of
Columbia, JOSEPH LINO PADILLA, also known as “Jose Padilla,” using a deadly and
dangerous weapon, that is, a flagpole, did forcibly assault, resist, oppose, impede, intimidate, and
interfere with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), and any person assisting such an
officer and employee, while such officer or employee was engaged in or on account of the
performance of official duties, and where the acts in violation of this section involve physical

contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections 111(a)(1) and (b))

COUNT FIVE
On or about January 6, 2021, at or around 4:47 p.m. to 4:49 p.m., within the District of
Columbia, JOSEPH LINO PADILLA, also known as “Jose Padilla,” committed and attempted
to commit an act to obstruct, impede, and interfere with a law enforcement officer, lawfully
engaged in the lawful performance of official duties, incident to and during the commission of a

civil disorder which in any way and degree obstructed, delayed, and adversely affected commerce
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and the movement of any article and commodity in commerce and the conduct and performance
of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT SIX

On or about January 6, 2021, within the District of Columbia and elsewhere, JOSEPH
LINO PADILLA, also known as’ “Jose Padilla.” attempted to, and did, corruptly obstruct,
influence, and impede an official proceeding, that is, a proceeding before Congress, specifically,
Congress’s certification of the Electoral College vote as set out in the Twelfth Amendment of the
Constitution of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, JOSEPH LINO PADILLA,
also known as “Jose Padilla,” did knowingly enter and remain in a restricted building and grounds,
that is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol
and its grounds, where the Vice President was and would be temporarily visiting, without lawful
authority to do so, and, during and in relation to the offense, did use and carry a deadly and
dangerous weapon, that is, a metal sign and a flagpole.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1)
and (b)(1)(A))

COUNT EIGHT
On or about January 6, 2021, in the District of Columbia, JOSEPH LINO PADILLA,
also known as “Jose Padilla,” did knowingly, and with intent to impede and disrupt the orderly

conduct of Government business and official functions, engage in disorderly and disruptive
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conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was and would be temporarily visiting, when and so that such conduct did in
fact impede and disrupt the orderly conduct of Government business and official functions, and,
during and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a
metal sign and a flagpole.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections

1752(a)(2) and (b)(1)(A))

COUNT NINE

On or about January 6, 2021, in the District of Columbia, JOSEPH LINO PADILLA,
also known as “Jose Padilla,” did knowingly engage in any act of physical violence against any
person and property in a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, and, during and in relation to the offense, did use and carry

a deadly and dangerous weapon, that is, a metal sign and a flagpole.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(4) and

(b)(1)(A))
COUNT TEN
On or about January 6, 2021, in the District of Columbia, JOSEPH LINO PADILLA,
also known as “Jose Padilla,” willfully and knowingly engaged in disorderly and disruptive
conduct within the United States Capitol Grounds and in any of the Capitol Buildings with the

intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either House
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of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a
committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT ELEVEN
On or about January 6, 2021, in the District of Columbia, JOSEPH LINO PADILLA,
also known as “Jose Padilla,” willfully and knowingly engaged in an act of physical violence
within the United States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

Watthew Ul. JAF

Attorney of the United States in
and for the District of Columbia.
